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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MISSOURI
                            EASTERN DIVISION

UNITED STATES OF AMERICA,               )
                                        )
      Plaintiff,                        )
                                        )
v.                                      ) No. 4:07CR450 JCH
                                        )
RICHARD BERRY,                          )
                                        )
      Defendant.                        )


                           ORDER NUNC PRO TUNC

      IT IS HEREBY ORDERED that the word “parties” shall be substituted for

the word “jury” in the second sentence (fifth line of order) of the order entered by

the undersigned on August 24, 2007.




                                        _______________________________
                                        CATHERINE D. PERRY
                                        UNITED STATES DISTRICT JUDGE

Dated this 28th day of August, 2007.
